              Case 2:23-bk-53233                  Doc 1     Filed 09/19/23 Entered 09/19/23 14:43:19                               Desc Main
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF OHIO, COLUMBUS DIVISION

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CUSITECH LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  833 Green Crest Drive
                                  Westerville, OH 43081
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Franklin                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    CUSITECH LLC                                                                                  Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                     proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor   CUSITECH LLC                                                                              Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   CUSITECH LLC                                                                              Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on           September 4, 2023
                                                  MM / DD / YYYY


                             X /s/       Craig Kalie                                                       Craig Kalie
                                 Signature of authorized representative of debtor                         Printed name

                                 Title     Manager




18. Signature of attorney    X /s/ David Whittaker                                                         Date    September 4, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 David Whittaker 0019307
                                 Printed name

                                 Two Miranova Pl Ste 700
                                 Firm name

                                 2 Miranova Pl
                                 Suite 700
                                 Columbus, OH 43215
                                 Number, Street, City, State & ZIP Code


                                 Contact phone         (614) 340-7431            Email address      dwhittaker@isaacwiles.com

                                 0019307 OH
                                 Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
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 Fill in this information to identify the case:

 Debtor name         CUSITECH LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO, COLUMBUS DIVISION

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration    Verification of Creditor List Form 1015-2

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           September 4, 2023                      X /s/ Craig Kalie
                                                                       Signature of individual signing on behalf of debtor

                                                                        Craig Kalie
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            CUSITECH LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF OHIO, COLUMBUS DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        3,914,434.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,914,434.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        5,031,240.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        4,043,567.05


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           9,074,807.05




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         CUSITECH LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO, COLUMBUS DIVISION

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Vectra Bank                                              Checking                     1133                                             $0.00




           3.2.    Vectra Bank                                              Checking                     1141                                             $0.00




           3.3.    Vectra Bank                                              Checking                     1125                                     $1,476.00




           3.4.    Vectra Bank                                              Checking                     1158                                         $58.00




           3.5.    Vectra Bank                                              Checking                     0079                                             $0.00




           3.6.    Pathways Financial Credit Union                          Credit Union                 2150                                    $60,000.00



 4.        Other cash equivalents (Identify all)



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 1
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 Debtor         CUSITECH LLC                                                                   Case number (If known)
                Name


 5.        Total of Part 1.
                                                                                                                                      $61,534.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                            2,254,000.00    -                       250,000.00 =....                  $2,004,000.00
                                              face amount                        doubtful or uncollectible accounts



           11b. Over 90 days old:                               430,000.00   -                       200,000.00 =....                    $230,000.00
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                   $2,234,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                        Valuation method used   Current value of
                                                                                                        for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Galley Road Properties LLC                                     100         %       Pending sale                     $350,000.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:

 17.       Total of Part 4.
                                                                                                                                     $350,000.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         CUSITECH LLC                                                                  Case number (If known)
                Name

           General description                       Date of the last         Net book value of      Valuation method used   Current value of
                                                     physical inventory       debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Ohio Inventory $5,000
           Colorado Inventory
           $300,000
           Florida Inventory
           $150,000                                                                  $460,000.00     Liquidation                      $460,000.00



 23.       Total of Part 5.
                                                                                                                                  $460,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 28.       Crops-either planted or harvested

 29.       Farm animals Examples: Livestock, poultry, farm-raised fish

 30.       Farm machinery and equipment (Other than titled motor vehicles)
           Equipment                                                                  $96,000.00     Liquidation                       $96,000.00



 31.       Farm and fishing supplies, chemicals, and feed

 32.       Other farming and fishing-related property not already listed in Part 6

 33.       Total of Part 6.
                                                                                                                                   $96,000.00
           Add lines 28 through 32. Copy the total to line 85.

 34.       Is the debtor a member of an agricultural cooperative?
               No
               Yes. Is any of the debtor's property stored at the cooperative?
                        No
                        Yes

 35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         CUSITECH LLC                                                                     Case number (If known)
                Name

               No
               Yes. Book value                                       Valuation method                        Current Value

 36.       Is a depreciation schedule available for any of the property listed in Part 6?
               No
               Yes

 37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
             No
             Yes

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Ohio Furniture and Office Equipment     $65,000
           Colorado Furniture and Office Equipment $50,000
           Florida Furniture and Office Equipment $3,000                                $118,000.00     Liquidation                      $118,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $118,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers                 debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Motor Vehicles                                                     $175,000.00     Comparable sale                  $175,000.00


           47.2.     2019 Ford Transit                                                   $39,000.00     Comparable sale                   $39,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         CUSITECH LLC                                                                 Case number (If known)
                Name

            47.3.    2020 Ford Transit                                                $40,000.00     Comparable sale             $40,000.00


            47.4.    Centra Grinder                                                   $18,000.00     Liquidation                 $18,000.00


            47.5.    Samy Manual Coupler and Buckets                                  $32,000.00     Liquidation                 $32,000.00


            47.6.    2020 Ford Transit T350                                           $30,900.00     Liquidation                 $30,900.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.
                                                                                                                            $334,900.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                       Current value of
                                                                                                                       debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 5
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 Debtor         CUSITECH LLC                                                                 Case number (If known)
                Name

           has been filed)

           Pending litigation against Steve Vandenburg et. al.                                                                   Unknown
           Nature of claim            Breach of contract and theft
           Amount requested                          $500,000.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Insurance claim against Steve Vandenburg and Amy
           Alexander for theft of accounts receivable                                                                       $250,000.00
           Nature of claim            insurance claim
           Amount requested                          $250,000.00



           Insurance claim for theft of trailer                                                                               $10,000.00
           Nature of claim            Insurance claim
           Amount requested                                           $10,000.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.
                                                                                                                          $260,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 6
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 Debtor          CUSITECH LLC                                                                                       Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                           $61,534.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                $2,234,000.00

 83. Investments. Copy line 17, Part 4.                                                                           $350,000.00

 84. Inventory. Copy line 23, Part 5.                                                                             $460,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                     $96,000.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $118,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $334,900.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                 $260,000.00

 91. Total. Add lines 80 through 90 for each column                                                        $3,914,434.00             + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,914,434.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                            page 7
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             Case 2:23-bk-53233                       Doc 1           Filed 09/19/23 Entered 09/19/23 14:43:19                                Desc Main
                                                                     Document      Page 14 of 60
 Fill in this information to identify the case:

 Debtor name         CUSITECH LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO, COLUMBUS DIVISION

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Centra Funding LLC                            Describe debtor's property that is subject to a lien                      $7,940.00               $18,000.00
       Creditor's Name                               Centra Grinder
       1400 Preston Rd.
       #115
       Plano, TX 75093
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       March 2021                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. Centra Funding LLC
       2. Pathways Federal Credit
       Union

       Downtown Electric & Lighting
 2.2
       Inc.                                          Describe debtor's property that is subject to a lien                  $123,000.00                       $0.00
       Creditor's Name


       78 Tumbleweed Trail
       Penrose, CO 81240
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security Interest not timely
                                                     perfected
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       October 2021                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
          No                                            Contingent

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 7
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 Debtor       CUSITECH LLC                                                                             Case number (if known)
              Name

           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




 2.3   Ford Motor Credit                             Describe debtor's property that is subject to a lien                       $21,000.00       $30,900.00
       Creditor's Name                               2020 Ford Transit T350

       PO Box 650575
       Dallas, TX 75265-5575
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       May 2022                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.4   MW GRP Capital                                Describe debtor's property that is subject to a lien                   $1,485,500.00      $2,694,000.00
       Creditor's Name                               Accounts Receivable $2,254,000; Retainage
       17 State Street                               $430,000; Ohio Inventory $5,000Colorado
       Suite 630                                     Inventory $300,000Florida Inventory $150,000
       New York, NY 10004
       Creditor's mailing address                    Describe the lien
                                                     Asserted Purchase of Accounts Receivable
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       February 2023                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. Pathways Federal Credit
       Union
       2. Small Business
       Administration
       3. MW GRP Capital
       4. Pearl Delta Funding LLC

       Pathways Federal Credit
 2.5
       Union                                         Describe debtor's property that is subject to a lien                   $1,600,000.00      $3,150,000.00
       Creditor's Name                               Pathways Financial Credit Union ; Accounts
       5665 North Hamilton Road




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 7
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 Debtor       CUSITECH LLC                                                                             Case number (if known)
              Name

       Columbus, OH 43230                            Receivable $2,254,000; Retainage $430,000;
                                                     Ohio Inventory $5,000Colorado Inventory
                                                     $300,000Florida Inventory $150,000; Ohio
                                                     Furniture and Office Equipment
                                                     $65,000Colorado Furniture and Office
                                                     Equipment $50,000Florida Furniture and Office
                                                     Equipment $3,000; Centra Grinder ; Pending
                                                     litigation against Steve Vandenburg et. al. ;
                                                     Insurance claim against Steve Vandenburg and
                                                     Amy Alexander for theft of accounts receivable ;
                                                     Insurance claim for theft of trailer

       Creditor's mailing address                    Describe the lien
                                                     Non-Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       November 2018 one term                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       loan and one line of credit
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       Specified on line 2.1

       Peak Professional
 2.6
       Contractors Inc.                              Describe debtor's property that is subject to a lien                       $400,000.00              $0.00
       Creditor's Name


       1428 North Franklin Street
       Colorado Springs, CO 80907
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security Interest not timely
                                                     perfected
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       February 2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.7   Pearl Delta Funding LLC                       Describe debtor's property that is subject to a lien                       $185,000.00     $2,908,000.00
       Creditor's Name                               Accounts Receivable $2,254,000; Retainage
                                                     $430,000; Ohio Inventory $5,000Colorado
                                                     Inventory $300,000Florida Inventory $150,000;
                                                     Equipment ; Ohio Furniture and Office
                                                     Equipment    $65,000Colorado Furniture and
       525 Washington Blvd.                          Office Equipment $50,000Florida Furniture and
       Suite 300                                     Office Equipment $3,000
       Jersey City, NJ 07310

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 7
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 Debtor       CUSITECH LLC                                                                             Case number (if known)
              Name

       Creditor's mailing address                    Describe the lien
                                                     Asserted Purchase of Accounts Receivable
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       June 2023                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       Specified on line 2.5

       Small Business
 2.8
       Administration                                Describe debtor's property that is subject to a lien                       $520,000.00     $3,072,000.00
       Creditor's Name                               Accounts Receivable $2,254,000; Retainage
                                                     $430,000; Ohio Inventory $5,000Colorado
                                                     Inventory $300,000Florida Inventory $150,000;
                                                     Ohio Furniture and Office Equipment
                                                     $65,000Colorado Furniture and Office
                                                     Equipment $50,000Florida Furniture and Office
                                                     Equipment $3,000; Pending litigation against
                                                     Steve Vandenburg et. al. ; Insurance claim
                                                     against Steve Vandenburg and Amy Alexander
       2 North Street                                for theft of accounts receivable ; Insurance claim
       Suite 320                                     for theft of trailer
       Birmingham, AL 35203
       Creditor's mailing address                    Describe the lien
                                                     Non-Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       July 2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       Specified on line 2.5

       Steve's Electric of South
 2.9
       Florida Inc.                                  Describe debtor's property that is subject to a lien                         Unknown                $0.00
       Creditor's Name
       Attn. Steve Vandenburg
       1093 Fenway Rd.
       Port Saint Lucie, FL 34953
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security Interest not timely
                                                     perfected
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       February 2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 7
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 Debtor       CUSITECH LLC                                                                             Case number (if known)
              Name

       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 0     Systems Electric Inc.                         Describe debtor's property that is subject to a lien                       $547,000.00              $0.00
       Creditor's Name


       90 Talamine Ct.
       Colorado Springs, CO 80907
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security Interest not timely
                                                     perfected
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       May 2022                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 1     TD Auto Finance LLC                           Describe debtor's property that is subject to a lien                        $32,000.00       $39,000.00
       Creditor's Name                               2019 Ford Transit

       2777 Inkster Rd.
       Farmington, MI 48334
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       June 2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 2     TD Auto Finance LLC                           Describe debtor's property that is subject to a lien                        $33,000.00       $40,000.00
       Creditor's Name                               2020 Ford Transit

       2777 Inkster Rd.
       Farmington, MI 48334
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 5 of 7
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 Debtor       CUSITECH LLC                                                                             Case number (if known)
              Name

                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
        June 2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.



 2.1
 3      Zions Credit Corporation                     Describe debtor's property that is subject to a lien                        $76,800.00          $32,000.00
        Creditor's Name                              Samy Manual Coupler and Buckets
        DBA Vectra Bank Colorado
        310 South Main Street
        Suite 1300
        Salt Lake City, UT 84101
        Creditor's mailing address                   Describe the lien
                                                     Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
        June 2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




                                                                                                                                $5,031,240.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
         Bethany Hamilton, Esq
         United States Attorney's Office                                                                        Line   2.8
         303 Marconi Blvd., Suite 200
         Columbus, OH 43215

         Debra L. Fortenberry Esq.
         Fortenberry Law Group LLC                                                                              Line   2.6
         620 S. Cascade Ave., Suite 103
         Colorado Springs, CO 80903

         Diane Rhonda Randeem Esq.
         Office of Theodore John Cohen Esq.                                                                     Line   2.7
         410 Jericho Turnpike
         Jericho, NY 11753

Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 6 of 7
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              Name

        Geoffrey Peters Esq.
        Weltman Weinberg & Reis                                                                 Line   2.5
        500 Bradenton Ave. Ste. 100
        Dublin, OH 43017

        ITASCA PARTNERS LLC
        1428 North Franklin Street                                                              Line   2.6
        Colorado Springs, CO 80907

        Mulliken Weiner Berg & Jolivet
        Alamo Corporate Center                                                                  Line   2.10
        102 South Tejon Street, Suite 900
        Colorado Springs, CO 80903

        Sampson MCA LLP
        C/O Luis Rothery                                                                        Line   2.4
        Berkovitch and Bouskila
        1545 Route 202 Suite 101
        Pomona, NY 10970

        Systems Electric Inc.
        5295 Suburban Drive                                                                     Line   2.10
        Colorado Springs, CO 80911

        US Small Business Administration
        65 E. State Street                                                                      Line   2.8
        Suite 1350
        Columbus, OH 43215

        US Small Business Administration
        2 North Street                                                                          Line   2.8
        Suite 320
        Birmingham, AL 35203

        Vectra Bank Colorado
        111 South Tejon Street                                                                  Line   2.13
        #103
        Colorado Springs, CO 80903

        Virginia P. Sherlock Esq.
        Littman Sherlock & Heims PA                                                             Line   2.9
        PO Box 1197
        Stuart, FL 34995




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property              page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         CUSITECH LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO, COLUMBUS DIVISION

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,622.93
           215 WESTERVILLE AUTO CENTER LTD
                                                                                Contingent
           5891 WESTERVILLE RD                                                  Unliquidated
           Westerville, OH 43081                                                Disputed
           Date(s) debt was incurred                                         Basis for the claim: Business Debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,750.00
           51 EC INC
                                                                                Contingent
           2960 N. ACADEMY BLVD, SUITE 150                                      Unliquidated
           Colorado Springs, CO 80917                                           Disputed
           Date(s) debt was incurred                                         Basis for the claim: Business Debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,577.03
           5280 FLOORS LLC
                                                                                Contingent
           2505 W. 2ND AVE, UNIT #9                                             Unliquidated
           Denver, CO 80219                                                     Disputed
           Date(s) debt was incurred                                         Basis for the claim: Business Debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $95.00
           A-1 BACKFLOW
                                                                                Contingent
           3110 CENTURY STREET                                                  Unliquidated
           Colorado Springs, CO 80907                                           Disputed
           Date(s) debt was incurred                                         Basis for the claim: Business Debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $780.16
           AAA MECHANICAL CONTRACTORS
                                                                                Contingent
           2755 STONER CT                                                       Unliquidated
           North Liberty, IA 52317                                              Disputed
           Date(s) debt was incurred                                         Basis for the claim: Business Debt
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 21
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              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $48,104.00
          ACCU-TECH
                                                                                Contingent
          PO BOX 840781                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,138.00
          AECOM TECHNICAL SERVICES INC
                                                                                Contingent
          1178 PAYSPHERE CIRCLE                                                 Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $140.00
          ALL PHASE LOCATING INC
                                                                                Contingent
          6211 LAKE GULCH ROAD                                                  Unliquidated
          Castle Rock, CO 80104                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,500.00
          All Purpose Paving Inc
          315 Sunset Road
                                                                                Contingent
                                                                                Unliquidated
          Colorado Springs, CO 80909                                            Disputed
          Date(s) debt was incurred July 2023                                Basis for the claim: Mechanics lien claim against non-debtor property
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,979.28
          ALLIANCE LEASING CORP
                                                                                Contingent
          10200 E. GIRARD AVE, SUITE B-223                                      Unliquidated
          Denver, CO 80231                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $42,360.00
          AMERICAN BEAUTY MECHANICAL
                                                                                Contingent
          2040 S. LINCOLN STREET                                                Unliquidated
          Denver, CO 80210                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $78,060.42
          AMERICAN EXPRESS
                                                                                Contingent
          PO BOX 96001                                                          Unliquidated
          Los Angeles, CA 90096                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $149.00
          AMERICAN INCORPORATORS LTD
                                                                                Contingent
          1013 CENTRE ROAD, SUITE 403-A                                         Unliquidated
          Wilmington, DE 19805                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,414.66
          ARIMAG CONSTRUCTION LLC
                                                                                Contingent
          7302 COLE VIEW                                                        Unliquidated
          Colorado Springs, CO 80915                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $39,758.15
          ARTISAN PIPE SYSTEMS INC
                                                                                Contingent
          P.O. BOX 25699                                                        Unliquidated
          Colorado Springs, CO 80936                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $33,176.00
          Artisian Pipe Systems Inc.
          655 Elkton Dr.
                                                                                Contingent
          Suite 100                                                             Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred July 2023                                Basis for the claim: Mechanics lien claim against non-debtor property
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,170.00
          ASSOCIATED GENERAL CONTRACTORS OF
          COLOR
                                                                                Contingent
          PO BOX 176210                                                         Unliquidated
          Denver, CO 80217                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,041.76
          AUTO-OWNERS INSURANCE
                                                                                Contingent
          PO BOX 740312                                                         Unliquidated
          Cincinnati, OH 45274                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,186.33
          AXIS PORTABLE AIR
                                                                                Contingent
          4132 W VENUS WAY                                                      Unliquidated
          Chandler, AZ 85226                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,770.77
          B&H FOTO & ELECTRONICS CORP
          REMITTANCE PROCESSING CENTER
                                                                                Contingent
          PO BOX 28072                                                          Unliquidated
          New York, NY 10087                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $289.57
          BELKNAP CONCRETE CUTTING & DRILLING
                                                                                Contingent
          9030 SOLON RD                                                         Unliquidated
          Houston, TX 77064                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,329.00
          BERGER IRON WORKS, INC
                                                                                Contingent
          8070 W. LITTLE YORK ROAD                                              Unliquidated
          Houston, TX 77040                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Bill's Equipment & Supply Inc.
                                                                                Contingent
          125 SOUTH CHESTNUT                                                    Unliquidated
          Colorado Springs, CO 80905                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $556,044.74
          BLAZER ELECTRIC SUPPLY MANAGEMENT
          CO
                                                                                Contingent
          PO BOX 636                                                            Unliquidated
          Pueblo, CO 81002                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,362.89
          BO STEEL FABRICATION & STRUCTURAL
          DESIGN
                                                                                Contingent
          2275 SPECTRA DRIVE, SUITE B                                           Unliquidated
          Colorado Springs, CO 80904                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,810.93
          BOTTOM LINE CONCEPTS LLC
                                                                                Contingent
          3323 NE 163RD STREET, SUITE 302                                       Unliquidated
          North Miami Beach, FL 33160                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $65,881.25
          BULLETPROOF PLUMBING & HEATING INC
                                                                                Contingent
          6920 ROPERS POINT                                                     Unliquidated
          Colorado Springs, CO 80908                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $72.21
          BUSINESS PLANS INC
                                                                                Contingent
          432 EAST PEARL ST                                                     Unliquidated
          Miamisburg, OH 45343                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,836.12
          CASSIDY LAW
                                                                                Contingent
          7650 RIVERS EDGE DR                                                   Unliquidated
          Columbus, OH 43235                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $990.00
          CCI FLOOR COVERING INC
                                                                                Contingent
          1577 SW 1ST WAY BAY E12                                               Unliquidated
          Deerfield Beach, FL 33441                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,600.00
          CELESTIAL COATINGS LLC
                                                                                Contingent
          3126 BRADY BLVD                                                       Unliquidated
          Colorado Springs, CO 80909                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,600.00
          CHARTER ROOFING CO INC
                                                                                Contingent
          6126 SCARLET DRIVE                                                    Unliquidated
          Houston, TX 77048                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,635.00
          CINCINNATI INSURANCE COMPANIES
                                                                                Contingent
          P.O. BOX 145620                                                       Unliquidated
          Cincinnati, OH 45250                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $736.18
          CINTAS CORP
                                                                                Contingent
          P.O. BOX 88005                                                        Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $132.68
          CITY ELECTRIC SUPPLY CO - DALLAS
          DIVISIO
                                                                                Contingent
          P.O. BOX 131811                                                       Unliquidated
          Dallas, TX 75313                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,032.00
          CITY OF WESTERVILLE (WE CONNECT)
                                                                                Contingent
          DEPT 781819                                                           Unliquidated
          Detroit, MI 48278                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,500.00
          COLORADO MOISTURE CONTROL INC
                                                                                Contingent
          3801 EAST 50TH AVE                                                    Unliquidated
          Denver, CO 80216                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          COLORADO SPRINGS CHAMBER & EDC
                                                                                Contingent
          102 SOUTH TEJON STREET #430                                           Unliquidated
          Colorado Springs, CO 80903                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $121.93
          COLORADO SPRINGS LEGAL COPY
                                                                                Contingent
          102 SOUTH TEJON #860                                                  Unliquidated
          Colorado Springs, CO 80903                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $141.74
          COLORADO SPRINGS UTILITIES
                                                                                Contingent
          P.O. BOX 340                                                          Unliquidated
          Colorado Springs, CO 80901                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $562.24
          COMPLETE LIGHTING OF COLORADO LLC
                                                                                Contingent
          4622-B NORTHPARK DRIVE                                                Unliquidated
          Colorado Springs, CO 80918                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CONSOLIDATED ELECTRICAL DIST -
          ATLANTA
                                                                                Contingent
          PO BOX 936240                                                         Unliquidated
          Atlanta, GA 31193                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $57,190.90
          CONSOLIDATED ELECTRICAL DIST.
          DENVER
                                                                                Contingent
          PO BOX 913120                                                         Unliquidated
          Denver, CO 80291                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $850.00
          CONTRACT COVERINGS
                                                                                Contingent
          7386 COLE VIEW, SUITE 100                                             Unliquidated
          Colorado Springs, CO 80915                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,630.00
          CSNA ARCHITECTS
                                                                                Contingent
          532 NORTH TEJON STREET                                                Unliquidated
          Colorado Springs, CO 80903                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,300.00
          CTA ENGINEERING CORP.
                                                                                Contingent
          611 N. NEVADA AVE, SUITE 4                                            Unliquidated
          Colorado Springs, CO 80903                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,225.00
          DAVID A LANGLEY ARCHITECHTS PC
                                                                                Contingent
          PO BOX 5858                                                           Unliquidated
          Woodland Park, CO 80866                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,332.94
          DELL FINANCIAL SERVICES LLC
          PAYMENT PROCESSING CENTER
                                                                                Contingent
          PO BOX 5292                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $61,945.19
          DIVERSIFIED ROOFING & CONSTRUCTION
                                                                                Contingent
          4553 E. PLATTE AVE                                                    Unliquidated
          Colorado Springs, CO 80915                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,941.00
          DR DIAMOND POWER SERVICES LP
                                                                                Contingent
          13413 TOPEKA STREET                                                   Unliquidated
          Houston, TX 77015                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $306.84
          DRYWALL MATERIAL SALES, LLC
                                                                                Contingent
          4285 NORTHPARK DR                                                     Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $8.25
          E-470 PUBLIC HIGHWAY AUTHORITY
                                                                                Contingent
          PO BOX 5470                                                           Unliquidated
          Denver, CO 80217                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,030.77
          Earthwise Demolition
                                                                                Contingent
          3825 TEAKWOOD PL                                                      Unliquidated
          Colorado Springs, CO 80918                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $562.23
          ERNST CONCRETE
                                                                                Contingent
          PO BOX 13577                                                          Unliquidated
          Dayton, OH 45413                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,794.17
          EXO AUTO WORKS LLC
                                                                                Contingent
          124 S. EL PASO, UNIT B                                                Unliquidated
          Colorado Springs, CO 80903                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,049.30
          FEDEX
                                                                                Contingent
          P.O. BOX 94515                                                        Unliquidated
          Palatine, IL 60094                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $351,774.64
          FIELD NATION
                                                                                Contingent
          733 MARQUETTE AVE #800                                                Unliquidated
          Minneapolis, MN 55402-3265                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          FOUNDATION BUILDING MATERIALS
                                                                                Contingent
          6872 PAYSPHERE CIR                                                    Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,906.13
          FOXWORTH GALBRAITH
                                                                                Contingent
          3131 N. NEVADA AVENUE                                                 Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,373.00
          FREEDOM DOOR SPECIALISTS
                                                                                Contingent
          PO BOX 4367                                                           Unliquidated
          Macon, GA 31204                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $855.11
          GARZA INTERIORS AND DESIGNS
          800 RESEARCH FOREST
                                                                                Contingent
          SUITE 115, PMB 35                                                     Unliquidated
          Spring, TX 77382                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $62,342.14
          GGF dba THE GLAZIERS
                                                                                Contingent
          814 N. SANTA FE AVE                                                   Unliquidated
          Pueblo, CO 81003                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $61,560.46
          GRAYBAR
                                                                                Contingent
          12444 COLLECTIONS CENTER DR                                           Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,077.58
          H&E EQUIPMENT SERVICES INC
                                                                                Contingent
          P.O. BOX 849850                                                       Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $55,026.20
          HINDSIGHT ELECTRIC LLC
                                                                                Contingent
          401 LAREDO STREET, SUITE H                                            Unliquidated
          Aurora, CO 80011                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $211.52
          HOLES INCORPORATED
                                                                                Contingent
          9911 FRANKLIN ROAD                                                    Unliquidated
          Houston, TX 77070                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,398.07
          HOLLINGSWORTH CAPITAL PARTNERS
                                                                                Contingent
          TWO CENTRE PLAZA                                                      Unliquidated
          Clinton, TN 37716                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,359.52
          HOME DEPOT CREDIT SERVICES
                                                                                Contingent
          P.O. BOX 6405                                                         Unliquidated
          Dallas, TX 75265                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,329.74
          HOUSTON CABINETS INC
                                                                                Contingent
          5902 ROYALTON STREET                                                  Unliquidated
          Houston, TX 77081                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $580.83
          HOUSTON SEA OF GLASS LLC
                                                                                Contingent
          13230 HEMPSTEAD RD, SUITE 322B                                        Unliquidated
          Houston, TX 77040                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,577.50
          HUBSPOT INC
                                                                                Contingent
          25 FIRST STREET, 2ND FLOOR                                            Unliquidated
          Cambridge, MA 02141                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,123.30
          HVAC SOLUTIONS INC
                                                                                Contingent
          655 ELKTON DR, SUITE 200                                              Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $44,500.09
          HW COMMERCIAL INTERIORS LLC
                                                                                Contingent
          6385 CORPORATE DR SUITE 101                                           Unliquidated
          Colorado Springs, CO 80919                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $874.50
          IEC SOUTHERN COLORADO CHAPTER
                                                                                Contingent
          2345 NORTH ACADEMY BLVD                                               Unliquidated
          Colorado Springs, CO 80909                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Inspiration Holdings LLC
                                                                                Contingent
          5505-5515 Palmer Park Blvd.                                           Unliquidated
          Colorado Springs, CO 80915                                            Disputed
          Date(s) debt was incurred July 2023                                Basis for the claim: Claim related to mechanics lien against property
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,652.91
          IRON MOUNTAIN
                                                                                Contingent
          75 TALAMINE CT. SUITE A                                               Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $53,182.35
          J&S DRYWALL SPECIALTIES INC
                                                                                Contingent
          5391 E 88TH AVENUE                                                    Unliquidated
          Brighton, CO 80602                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $32,797.80
          J2D ELECTRIC INC
                                                                                Contingent
          4 CARSON CIRCLE                                                       Unliquidated
          Fountain, CO 80817                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $65,000.00
          Jacob M. Resnick Esq
          Mavrick Law Firm
          1620 W. Oakland Park Blvd.
          Suite 300
                                                                                Contingent
                                                                                Unliquidated
          Fort Lauderdale, FL 33311                                             Disputed
          Date(s) debt was incurred During 2022 and 2023                     Basis for the claim: Attorney fees
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,055.00
          JAN PRO FRANCHISE DEVELOPMENT OF
          SOUTH
                                                                                Contingent
          5360 N. ACADEMY BLVD, SUITE 150                                       Unliquidated
          Colorado Springs, CO 80918                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,182.00
          JG CONSTRUCTION
                                                                                Contingent
          10413 N OSWEGO ST                                                     Unliquidated
          Houston, TX 77029                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $925.70
          JIFFY LUBE/MYFLEETCENTER.COM
                                                                                Contingent
          P.O. BOX 620130                                                       Unliquidated
          Middleton, WI 53562                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,280.00
          JOHN P NELSON ASSOCIATES
                                                                                Contingent
          1626 E PIKES PEAK AVE                                                 Unliquidated
          Colorado Springs, CO 80909                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,224.00
          JR ROOF MAINTENANCE, LLC
                                                                                Contingent
          1316 VALLEY STREET                                                    Unliquidated
          Colorado Springs, CO 80915                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $114,960.33
          K&M ELECTRIC SUPPLY INC
                                                                                Contingent
          7641 CENTRAL INDUSTRIAL DRIVE                                         Unliquidated
          RIVIERA BEACH, FL 33404-3487                                          Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          KBR Wyle Services
          970 West 190" Street
          Suite 890
                                                                                Contingent
                                                                                Unliquidated
          Aurora, IL 60502                                                      Disputed
          Date(s) debt was incurred May 2023                                 Basis for the claim: Claim related to mechanics lien against property
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,000.00
          KIMLEY-HORN AND ASSOCIATES INC
                                                                                Contingent
          421 FAYETTEVILLE STREET, SUITE 600                                    Unliquidated
          Raleigh, NC 27601                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $307.32
          LIGHTNING BOLT INC
                                                                                Contingent
          P.O. BOX 7643                                                         Unliquidated
          Colorado Springs, CO 80933                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,745.00
          LION CUTTING & CONSTRUCTION LLC
                                                                                Contingent
          19434 OIL CENTER BLVD                                                 Unliquidated
          Houston, TX 77073                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $663.00
          LONG BUILDING TECHNOLOGIES INC
                                                                                Contingent
          PO BOX 5501                                                           Unliquidated
          Denver, CO 80217                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $32,227.03
          M&G EXCAVATION INC
                                                                                Contingent
          2630 COTTONWOOD DRIVE                                                 Unliquidated
          Denver, CO 80221                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,150.00
          MARSHALL MECHANICAL CONTRACTORS
                                                                                Contingent
          3604 SOUTH US 31                                                      Unliquidated
          Franklin, IN 46131                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,612.50
          MARTIN FIRE PROTECTION
                                                                                Contingent
          12295 PENNSYLVANIA ST, #4B                                            Unliquidated
          Thornton, CO 80241                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $821.45
          MCKINNEY DOOR & HARDWARE
                                                                                Contingent
          419 S. EL PASO STREET                                                 Unliquidated
          Colorado Springs, CO 80903                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $395.00
          MCM CONCRETE CUTTING INC
                                                                                Contingent
          455 NW RAVENSWOOD LANE                                                Unliquidated
          Port Saint Lucie, FL 34983                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          McSHEA CONSULTING LLC
                                                                                Contingent
          4445 NORTHPARK DR #200                                                Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $82,913.56
          MERIDIAN FIRE AND SECURITY LLC
                                                                                Contingent
          10200 E. EASTER AVENUE                                                Unliquidated
          CENTENNIAL, CO 80112                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,154.11
          MIKE ALBERT LEASING INC
                                                                                Contingent
          P.O. BOX 643220                                                       Unliquidated
          Cincinnati, OH 45264                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,059.32
          NIEDAX MONOSYSTEMS INC
                                                                                Contingent
          L-4151                                                                Unliquidated
          Columbus, OH 43260                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $860,412.00
          NXT Power LLC
                                                                                Contingent
          7051 WEST WILSON AVE                                                  Unliquidated
          Harwood Heights, IL 60706                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $387.00
          OAKLAND NURSERY INC
                                                                                Contingent
          1156 OAKLAND PARK AVE                                                 Unliquidated
          Columbus, OH 43224                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $125.50
          OHIO BUREAU OF WORKER'S COMP
                                                                                Contingent
          P.O. BOX 89492                                                        Unliquidated
          Cleveland, OH 44101                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Pearsons Ministries International
                                                                                Contingent
          PO Box 340                                                            Unliquidated
          Woodland Park, CO 80866                                               Disputed
          Date(s) debt was incurred July 2023                                Basis for the claim: Claim related to mechanics lien against property
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $54.09
          PEERLESS TYRE CO
                                                                                Contingent
          5000 KINGSTON ST                                                      Unliquidated
          Denver, CO 80239                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          PERFORMANCE NAPA LLC
                                                                                Contingent
          PO BOX 219                                                            Unliquidated
          Pahokee, FL 33476                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $354.73
          PITNEY BOWES BANK INC PURCHASE
          POWER
                                                                                Contingent
          PO BOX 981026                                                         Unliquidated
          Boston, MA 02298                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,178.76
          QED INC
                                                                                Contingent
          P.O. BOX 841462                                                       Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,226.63
          QUILL CORPORATION
                                                                                Contingent
          P.O. BOX 37600                                                        Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,410.79
          R & T YODER ELECTRIC INC
                                                                                Contingent
          7927 MEMORIAL DRIVE, SUITE A                                          Unliquidated
          Plain City, OH 43064                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,332.00
          Rampart Tile Company
                                                                                Contingent
          3405 North El Paso Street                                             Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred May 2023                                 Basis for the claim: Mechanics lien claim against non-debtor property
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,909.55
          RAMPART TILE COMPANY
                                                                                Contingent
          3405 NORTH EL PASO STREET                                             Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,153.70
          RAPID FIRE PROTECTION INC
                                                                                Contingent
          1530 SAMCO ROAD                                                       Unliquidated
          Rapid City, SD 57702                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $76.77
          REDBOX+ DUMPSTERS OF DENVER
          METRO
                                                                                Contingent
          5034 E. OTERO CIRCLE                                                  Unliquidated
          Littleton, CO 80122                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,320.24
          REXEL
                                                                                Contingent
          P.O. BOX 840638                                                       Unliquidated
          DALLAS, TX 75001                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,290.00
          RIAL HEATING & AIR COND. INC.
                                                                                Contingent
          3606 N. STONE AVENUE #A                                               Unliquidated
          Colorado Springs, CO 80907                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,432.00
          ROCKSLIDE DEMO & SAWCUTTING LLC
                                                                                Contingent
          4950 E. 56TH AVENUE                                                   Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 15 of 21
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 Debtor       CUSITECH LLC                                                                            Case number (if known)
              Name

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,612.60
          SANDER MECHANICAL SERVICE LLC
                                                                                Contingent
          55 COLUMBIA ROAD                                                      Unliquidated
          Somerville, NJ 08876                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          SATCO CALIFORNIA
                                                                                Contingent
          31288 SAN BENITO ST                                                   Unliquidated
          Hayward, CA 94544                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $135,895.90
          SCHOMMER CONSTRUCTION
                                                                                Contingent
          410 SOUTH 19TH STREEST                                                Unliquidated
          Colorado Springs, CO 80904                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $90.00
          SEDGWICK
                                                                                Contingent
          P.O. BOX 89456                                                        Unliquidated
          Cleveland, OH 44101                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,473.77
          SEGOVIANS COMPANY
                                                                                Contingent
          6700 QUEENSTON BLVD #618                                              Unliquidated
          Houston, TX 77084                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,887.15
          SEMA CONNECT INC
                                                                                Contingent
          P.O. BOX 69416                                                        Unliquidated
          Baltimore, MD 21264                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,089.98
          SEMPER MECHANICAL INC
                                                                                Contingent
          54 WEST DANE ST, UNIT 1                                               Unliquidated
          Beverly, MA 01915                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,285.19
          SERVICE MASTER BY DEMARRT
                                                                                Contingent
          P.O. BOX 6051                                                         Unliquidated
          Hilliard, OH 43026                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       CUSITECH LLC                                                                            Case number (if known)
              Name

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,150.84
          SHIELDING RESOURCES GROUP INC
                                                                                Contingent
          9512 E. 55TH STREET                                                   Unliquidated
          Tulsa, OK 74145                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,366.50
          SHON'S SCIENTIFIC REFRIGERATOR
                                                                                Contingent
          202 MILTON STREET, SUITE 101                                          Unliquidated
          Dedham, MA 02026                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $283.92
          SIGN SHOP LTD
                                                                                Contingent
          3505 E. PLATTE AVE                                                    Unliquidated
          Colorado Springs, CO 80909                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,924.42
          SIGNCO SIGNS & GRAPHICS
                                                                                Contingent
          1512 6TH AVE SE                                                       Unliquidated
          Decatur, AL 35601                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $65.00
          SP+
                                                                                Contingent
          PO BOX 22814                                                          Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,225.00
          SPECIALTY CLEANING SERVICES INC
                                                                                Contingent
          1207 S. LIPAN STREET                                                  Unliquidated
          Denver, CO 80223                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $448.88
          STAINLESS SPECIALISTS, INC
                                                                                Contingent
          P.O. BOX 687                                                          Unliquidated
          Wausau, WI 54402                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,176.00
          STILSON ELECTRIC SYSTEMS INC
                                                                                Contingent
          2375 N. ACADEMY BLVD, SUITE 110                                       Unliquidated
          Colorado Springs, CO 80909                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       CUSITECH LLC                                                                            Case number (if known)
              Name

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,573.42
          STRAIGHT LINE CONSTRUCTION CO
                                                                                Contingent
          94 N MISSION DRIVE                                                    Unliquidated
          Pueblo, CO 81007                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $80.69
          STUART BUSINESS SYSTEMS INC
                                                                                Contingent
          830 N.E. POP TILTON PLACE                                             Unliquidated
          Jensen Beach, FL 34957                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,068.45
          SUNBELT RENTALS
                                                                                Contingent
          P.O. BOX 409211                                                       Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $45.33
          SUNSTATE EQUIPMENT CO. LLC
                                                                                Contingent
          P.O. BOX 208439                                                       Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $34,714.20
          TOP NOTCH COMMERCIAL GROUP LLC
                                                                                Contingent
          9011 EDGEBROOK                                                        Unliquidated
          Houston, TX 77075                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $61,607.53
          TOPS IN COUNTERTOPS INC
                                                                                Contingent
          3100 N. NEVADA AVENUE                                                 Unliquidated
          Colorado Springs, CO 80905                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $312.41
          TOPS IN STONE INC
                                                                                Contingent
          623 W VERMIJO                                                         Unliquidated
          Monument, CO 80132                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,405.00
          TURNER MORRIS INC
                                                                                Contingent
          5054 MARSHALL STREET                                                  Unliquidated
          Arvada, CO 80002                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       CUSITECH LLC                                                                            Case number (if known)
              Name

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,554.84
          U.S. BANK EQUIPMENT FINANCE
                                                                                Contingent
          P.O. BOX 790448                                                       Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Unico Colorado Square LLC
                                                                                Contingent
          118 E. Pikes Peak Avenue                                              Unliquidated
          Colorado Springs, CO 80903                                            Disputed
          Date(s) debt was incurred May 2023                                 Basis for the claim: Claim related to mechanics lien against property
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $849.18
          UNITED RENTALS INC
                                                                                Contingent
          P.O. BOX 100711                                                       Unliquidated
          Dallas, TX 75284-0514                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $162,542.44
          VELOCITI
                                                                                Contingent
          P.O. BOX 872287                                                       Unliquidated
          Kansas City, MO 64187                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $209,146.75
          VISA                                                                  Contingent
                                                                                Unliquidated
          **NEED ADDRESS**                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $360.98
          WESTERN INTERIOR SUPPLY INC
                                                                                Contingent
          450 BRYANT STREET                                                     Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $560.00
          WESTERVILLE CHAMBER OF COMMERCE
                                                                                Contingent
          99 COMMERCE PARK DRIVE                                                Unliquidated
          Louisville, KY 43082                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,445.95
          WESTSIDE DESIGNWORKS
                                                                                Contingent
          1451 BURNHAM STREET                                                   Unliquidated
          Colorado Springs, CO 80906                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       CUSITECH LLC                                                                            Case number (if known)
              Name

 3.149     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $3,502.00
           X5 NETWORKS LLC
                                                                                Contingent
           2114 SHERMAN DR                                                      Unliquidated
           Union City, CA 94587                                                 Disputed
           Date(s) debt was incurred                                         Basis for the claim: Business Debt
           Last 4 digits of account number                                   Is the claim subject to offset?         No      Yes


 3.150     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $986.70
           XEROX
                                                                                Contingent
           P.O. BOX 205354                                                      Unliquidated
           Dallas, TX 75320                                                     Disputed
           Date(s) debt was incurred                                         Basis for the claim: Business Debt
           Last 4 digits of account number                                   Is the claim subject to offset?         No      Yes


 3.151     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $5,375.00
           ZOOMINFO TECHNOLOGIES LLC
                                                                                Contingent
           805 BROADWAY, SUITE 900                                              Unliquidated
           Vancouver, WA 98660                                                  Disputed
           Date(s) debt was incurred                                         Basis for the claim: Business Debt
           Last 4 digits of account number                                   Is the claim subject to offset?         No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Christopher G. Wilhelmi, Esq.
           Stinar Zendejas Burrell & Wilhelmi                                                         Line     3.9
           121 E Vermijo Ave, Suite 200
                                                                                                             Not listed. Explain
           Colorado Springs, CO 80903

 4.2       Eamon Walsh Esq.
           General Counsel                                                                            Line     3.57
           Field Nation LLC
                                                                                                             Not listed. Explain
           733 Marquette Ave. Suite 800
           733 Marquette Avenue, Suite 800733 Marquette Avenue, Suite
           800
           Minneapolis, MN 55402

 4.3       INSPIRATION HOLDINGS LLC
           5550 TECH CENTER DR.                                                                       Line     3.75
           Colorado Springs, CO 80919
                                                                                                             Not listed. Explain

 4.4       Mulliken Weiner Berg & Jolivet
           Alamo Corporate Center                                                                     Line     3.110
           102 South Tejon Street, Suite 900
                                                                                                             Not listed. Explain
           Colorado Springs, CO 80903

 4.5       Mulliken Weiner Berg & Jolivet
           Alamo Corporate Center                                                                     Line     3.142
           102 South Tejon Street, Suite 900
                                                                                                             Not listed. Explain
           Colorado Springs, CO 80903

 4.6       Unico Colorado Square LLC
           215 4" Avenue, Suite 600                                                                   Line     3.142
           Seattle, WA 98161
                                                                                                             Not listed. Explain


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 Debtor        CUSITECH LLC                                                                      Case number (if known)
               Name

            Name and mailing address                                                             On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.7        VeriCore
            Attn: William Fox                                                                    Line     3.63
            10115 Kincey Avenue, Suite 100
                                                                                                        Not listed. Explain
            Huntersville, NC 28078


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  4,043,567.05

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.          $                    4,043,567.05




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 Fill in this information to identify the case:

 Debtor name         CUSITECH LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO, COLUMBUS DIVISION

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.1.        State what the contract or                   Employment Agreement
             lease is for and the nature of               subject to pending
             the debtor's interest                        litigation

                 State the term remaining                 Unknown and disputed
                                                                                          Steve Vandenburg
             List the contract number of any                                              1093 Fenway Rd.
                   government contract                                                    Port Saint Lucie, FL 34953


 2.2.        State what the contract or                   Lease of real property at
             lease is for and the nature of               833 Green Crest Dr.
             the debtor's interest                        Westerville OH 43081
                                                          minimum rent $5732.83
                                                          per month                       Hollingsworth Capital Partners Columbus
                 State the term remaining                 Month to Month                  C/O Glann F. Alban
                                                                                          Statutory Agent
             List the contract number of any                                              7100 N. High St. Ste. 102
                   government contract                                                    Waco, KY 40385


 2.3.        State what the contract or                   Agreement to purchase
             lease is for and the nature of               furniture for $40,000
             the debtor's interest

                 State the term remaining                                                 Vista Community Church
                                                                                          Attn. Ron Roman
             List the contract number of any                                              5266 Frantz Rd.
                   government contract                                                    Dublin, OH 43017


 2.4.        State what the contract or                   Employment contract
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 Unknown and disputed
                                                                                          Jack Hollesen
             List the contract number of any                                              5295 Suburban Dr.
                   government contract                                                    Colorado Springs, CO 80911




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 CUSITECH LLC                                                                       Case number (if known)
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Employment Contract
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 Unknown and disputed
                                                                                     Luke Hanson
             List the contract number of any                                         9428 Hazy Morning Dr.
                   government contract                                               Colorado Springs, CO 80925


 2.6.        State what the contract or                   Employment Contract
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 Unknown and disputed
                                                                                     Robert Martinez
             List the contract number of any                                         8411 Windy Hill Drive
                   government contract                                               Colorado Springs, CO 80920




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         CUSITECH LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO, COLUMBUS DIVISION

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:
     2.7     Craig Kalie                       7255 UPPER CAMBRIDGE WAY                           Small Business                    D   2.8
                                               Westerville, OH 43082                              Administration                    E/F
                                                                                                                                    G



     2.8     Craig Kalie                       7255 UPPER CAMBRIDGE WAY                           Zions Credit                      D   2.13
                                               Westerville, OH 43082                              Corporation                       E/F
                                                                                                                                    G



     2.9     Craig Kalie                       7255 UPPER CAMBRIDGE WAY                           MW GRP Capital                    D   2.4
                                               Westerville, OH 43082                                                                E/F
                                                                                                                                    G



             Craig Kalie                       7255 UPPER CAMBRIDGE WAY                           Pearl Delta Funding               D   2.7
    2.10                                       Westerville, OH 43082                              LLC                               E/F
                                                                                                                                    G



             Craig Kalie                       7255 UPPER CAMBRIDGE WAY                           Pathways Federal                  D   2.5
    2.11                                       Westerville, OH 43082                              Credit Union                      E/F
                                                                                                                                    G



             Customized                        Attn. Craig Kalie                                  Pathways Federal                  D   2.5
    2.12     Uptime Solutions                  7255 UPPER CAMBRIDGE WAY                           Credit Union                      E/F
             Inc.                              Westerville, OH 43082                                                                G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor       CUSITECH LLC                                                                   Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

             Voltonix LLC                      Attn.Craig Kalie                                   Small Business        D   2.8
    2.13                                       7255 UPPER CAMBRIDGE LANE                          Administration        E/F
                                               Westerville, OH 43082                                                    G




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                             215 WESTERVILLE AUTO CENTER LTD
                             5891 WESTERVILLE RD
                             Westerville, OH 43081


                             51 EC INC
                             2960 N. ACADEMY BLVD, SUITE 150
                             Colorado Springs, CO 80917


                             5280 FLOORS LLC
                             2505 W. 2ND AVE, UNIT #9
                             Denver, CO 80219


                             A-1 BACKFLOW
                             3110 CENTURY STREET
                             Colorado Springs, CO 80907


                             AAA MECHANICAL CONTRACTORS
                             2755 STONER CT
                             North Liberty, IA 52317


                             ACCU-TECH
                             PO BOX 840781
                             Dallas, TX 75284


                             AECOM TECHNICAL SERVICES INC
                             1178 PAYSPHERE CIRCLE
                             Chicago, IL 60674


                             ALL PHASE LOCATING INC
                             6211 LAKE GULCH ROAD
                             Castle Rock, CO 80104


                             All Purpose Paving Inc
                             315 Sunset Road
                             Colorado Springs, CO 80909


                             ALLIANCE LEASING CORP
                             10200 E. GIRARD AVE, SUITE B-223
                             Denver, CO 80231


                             AMERICAN BEAUTY MECHANICAL
                             2040 S. LINCOLN STREET
                             Denver, CO 80210


                             AMERICAN EXPRESS
                             PO BOX 96001
                             Los Angeles, CA 90096


                             AMERICAN INCORPORATORS LTD
                             1013 CENTRE ROAD, SUITE 403-A
                             Wilmington, DE 19805


                             ARIMAG CONSTRUCTION LLC
                             7302 COLE VIEW
                             Colorado Springs, CO 80915
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                             ARTISAN PIPE SYSTEMS INC
                             P.O. BOX 25699
                             Colorado Springs, CO 80936


                             Artisian Pipe Systems Inc.
                             655 Elkton Dr. Suite 100
                             Colorado Springs, CO 80907


                             ASSOCIATED GENERAL CONTRACTORS OF COLOR
                             PO BOX 176210
                             Denver, CO 80217


                             AUTO-OWNERS INSURANCE
                             PO BOX 740312
                             Cincinnati, OH 45274


                             AXIS PORTABLE AIR
                             4132 W VENUS WAY
                             Chandler, AZ 85226


                             B&H FOTO & ELECTRONICS CORP
                             REMITTANCE PROCESSING CENTER
                             PO BOX 28072
                             New York, NY 10087


                             BELKNAP CONCRETE CUTTING & DRILLING
                             9030 SOLON RD
                             Houston, TX 77064


                             BERGER IRON WORKS, INC
                             8070 W. LITTLE YORK ROAD
                             Houston, TX 77040


                             Bethany Hamilton, Esq
                             United States Attorney's Office
                             303 Marconi Blvd., Suite 200
                             Columbus, OH 43215


                             Bill's Equipment & Supply Inc.
                             125 SOUTH CHESTNUT
                             Colorado Springs, CO 80905


                             BLAZER ELECTRIC SUPPLY MANAGEMENT CO
                             PO BOX 636
                             Pueblo, CO 81002


                             BO STEEL FABRICATION & STRUCTURAL DESIGN
                             2275 SPECTRA DRIVE, SUITE B
                             Colorado Springs, CO 80904


                             BOTTOM LINE CONCEPTS LLC
                             3323 NE 163RD STREET, SUITE 302
                             North Miami Beach, FL 33160
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                             BULLETPROOF PLUMBING & HEATING INC
                             6920 ROPERS POINT
                             Colorado Springs, CO 80908


                             BUSINESS PLANS INC
                             432 EAST PEARL ST
                             Miamisburg, OH 45343


                             CASSIDY LAW
                             7650 RIVERS EDGE DR
                             Columbus, OH 43235


                             CCI FLOOR COVERING INC
                             1577 SW 1ST WAY BAY E12
                             Deerfield Beach, FL 33441


                             CELESTIAL COATINGS LLC
                             3126 BRADY BLVD
                             Colorado Springs, CO 80909


                             Centra Funding LLC
                             1400 Preston Rd. #115
                             Plano, TX 75093


                             CHARTER ROOFING CO INC
                             6126 SCARLET DRIVE
                             Houston, TX 77048


                             Christopher G. Wilhelmi, Esq.
                             Stinar Zendejas Burrell & Wilhelmi
                             121 E Vermijo Ave, Suite 200
                             Colorado Springs, CO 80903


                             CINCINNATI INSURANCE COMPANIES
                             P.O. BOX 145620
                             Cincinnati, OH 45250


                             CINTAS CORP
                             P.O. BOX 88005
                             Chicago, IL 60680


                             CITY ELECTRIC SUPPLY CO - DALLAS DIVISIO
                             P.O. BOX 131811
                             Dallas, TX 75313


                             CITY OF WESTERVILLE (WE CONNECT)
                             DEPT 781819
                             Detroit, MI 48278


                             COLORADO MOISTURE CONTROL INC
                             3801 EAST 50TH AVE
                             Denver, CO 80216


                             COLORADO SPRINGS CHAMBER & EDC
                             102 SOUTH TEJON STREET #430
                             Colorado Springs, CO 80903
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                             COLORADO SPRINGS LEGAL COPY
                             102 SOUTH TEJON #860
                             Colorado Springs, CO 80903


                             COLORADO SPRINGS UTILITIES
                             P.O. BOX 340
                             Colorado Springs, CO 80901


                             COMPLETE LIGHTING OF COLORADO LLC
                             4622-B NORTHPARK DRIVE
                             Colorado Springs, CO 80918


                             CONSOLIDATED ELECTRICAL DIST - ATLANTA
                             PO BOX 936240
                             Atlanta, GA 31193


                             CONSOLIDATED ELECTRICAL DIST. DENVER
                             PO BOX 913120
                             Denver, CO 80291


                             CONTRACT COVERINGS
                             7386 COLE VIEW, SUITE 100
                             Colorado Springs, CO 80915


                             Craig Kalie
                             7255 UPPER CAMBRIDGE WAY
                             Westerville, OH 43082


                             Craig Kalie
                             7255 UPPER CAMBRIDGE WAY
                             Westerville, OH 43082


                             CSNA ARCHITECTS
                             532 NORTH TEJON STREET
                             Colorado Springs, CO 80903


                             CTA ENGINEERING CORP.
                             611 N. NEVADA AVE, SUITE 4
                             Colorado Springs, CO 80903


                             Customized Uptime Solutions Inc.
                             Attn. Craig Kalie
                             7255 UPPER CAMBRIDGE WAY
                             Westerville, OH 43082


                             DAVID A LANGLEY ARCHITECHTS PC
                             PO BOX 5858
                             Woodland Park, CO 80866


                             Debra L. Fortenberry Esq.
                             Fortenberry Law Group LLC
                             620 S. Cascade Ave., Suite 103
                             Colorado Springs, CO 80903
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                             DELL FINANCIAL SERVICES LLC
                             PAYMENT PROCESSING CENTER PO BOX 5292
                             Carol Stream, IL 60197


                             Diane Rhonda Randeem Esq.
                             Office of Theodore John Cohen Esq.
                             410 Jericho Turnpike
                             Jericho, NY 11753


                             DIVERSIFIED ROOFING & CONSTRUCTION
                             4553 E. PLATTE AVE
                             Colorado Springs, CO 80915


                             Downtown Electric & Lighting Inc.
                             78 Tumbleweed Trail
                             Penrose, CO 81240


                             DR DIAMOND POWER SERVICES LP
                             13413 TOPEKA STREET
                             Houston, TX 77015


                             DRYWALL MATERIAL SALES, LLC
                             4285 NORTHPARK DR
                             Colorado Springs, CO 80907


                             E-470 PUBLIC HIGHWAY AUTHORITY
                             PO BOX 5470
                             Denver, CO 80217


                             Eamon Walsh Esq.
                             General Counsel Field Nation LLC
                             733 Marquette Ave. Suite 800 733 Marquet
                             Minneapolis, MN 55402


                             Earthwise Demolition
                             3825 TEAKWOOD PL
                             Colorado Springs, CO 80918


                             ERNST CONCRETE
                             PO BOX 13577
                             Dayton, OH 45413


                             EXO AUTO WORKS LLC
                             124 S. EL PASO, UNIT B
                             Colorado Springs, CO 80903


                             FEDEX
                             P.O. BOX 94515
                             Palatine, IL 60094


                             FIELD NATION
                             733 MARQUETTE AVE #800
                             Minneapolis, MN 55402-3265
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                             Ford Motor Credit
                             PO Box 650575
                             Dallas, TX 75265-5575


                             FOUNDATION BUILDING MATERIALS
                             6872 PAYSPHERE CIR
                             Chicago, IL 60674


                             FOXWORTH GALBRAITH
                             3131 N. NEVADA AVENUE
                             Colorado Springs, CO 80907


                             FREEDOM DOOR SPECIALISTS
                             PO BOX 4367
                             Macon, GA 31204


                             GARZA INTERIORS AND DESIGNS
                             800 RESEARCH FOREST SUITE 115, PMB 35
                             Spring, TX 77382


                             Geoffrey Peters Esq.
                             Weltman Weinberg & Reis
                             500 Bradenton Ave. Ste. 100
                             Dublin, OH 43017


                             GGF dba THE GLAZIERS
                             814 N. SANTA FE AVE
                             Pueblo, CO 81003


                             GRAYBAR
                             12444 COLLECTIONS CENTER DR
                             Chicago, IL 60693


                             H&E EQUIPMENT SERVICES INC
                             P.O. BOX 849850
                             Dallas, TX 75284


                             HINDSIGHT ELECTRIC LLC
                             401 LAREDO STREET, SUITE H
                             Aurora, CO 80011


                             HOLES INCORPORATED
                             9911 FRANKLIN ROAD
                             Houston, TX 77070


                             HOLLINGSWORTH CAPITAL PARTNERS
                             TWO CENTRE PLAZA
                             Clinton, TN 37716


                             Hollingsworth Capital Partners Columbus
                             C/O Glann F. Alban Statutory Agent
                             7100 N. High St. Ste. 102
                             Waco, KY 40385
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                             HOME DEPOT CREDIT SERVICES
                             P.O. BOX 6405
                             Dallas, TX 75265


                             HOUSTON CABINETS INC
                             5902 ROYALTON STREET
                             Houston, TX 77081


                             HOUSTON SEA OF GLASS LLC
                             13230 HEMPSTEAD RD, SUITE 322B
                             Houston, TX 77040


                             HUBSPOT INC
                             25 FIRST STREET, 2ND FLOOR
                             Cambridge, MA 02141


                             HVAC SOLUTIONS INC
                             655 ELKTON DR, SUITE 200
                             Colorado Springs, CO 80907


                             HW COMMERCIAL INTERIORS LLC
                             6385 CORPORATE DR SUITE 101
                             Colorado Springs, CO 80919


                             IEC SOUTHERN COLORADO CHAPTER
                             2345 NORTH ACADEMY BLVD
                             Colorado Springs, CO 80909


                             Inspiration Holdings LLC
                             5505-5515 Palmer Park Blvd.
                             Colorado Springs, CO 80915


                             INSPIRATION HOLDINGS LLC
                             5550 TECH CENTER DR.
                             Colorado Springs, CO 80919


                             IRON MOUNTAIN
                             75 TALAMINE CT. SUITE A
                             Colorado Springs, CO 80907


                             ITASCA PARTNERS LLC
                             1428 North Franklin Street
                             Colorado Springs, CO 80907


                             J&S DRYWALL SPECIALTIES INC
                             5391 E 88TH AVENUE
                             Brighton, CO 80602


                             J2D ELECTRIC INC
                             4 CARSON CIRCLE
                             Fountain, CO 80817


                             Jack Hollesen
                             5295 Suburban Dr.
                             Colorado Springs, CO 80911
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                             Jacob M. Resnick Esq
                             Mavrick Law Firm
                             1620 W. Oakland Park Blvd. Suite 300
                             Fort Lauderdale, FL 33311


                             JAN PRO FRANCHISE DEVELOPMENT OF SOUTH
                             5360 N. ACADEMY BLVD, SUITE 150
                             Colorado Springs, CO 80918


                             JG CONSTRUCTION
                             10413 N OSWEGO ST
                             Houston, TX 77029


                             JIFFY LUBE/MYFLEETCENTER.COM
                             P.O. BOX 620130
                             Middleton, WI 53562


                             JOHN P NELSON ASSOCIATES
                             1626 E PIKES PEAK AVE
                             Colorado Springs, CO 80909


                             JR ROOF MAINTENANCE, LLC
                             1316 VALLEY STREET
                             Colorado Springs, CO 80915


                             K&M ELECTRIC SUPPLY INC
                             7641 CENTRAL INDUSTRIAL DRIVE
                             RIVIERA BEACH, FL 33404-3487


                             KBR Wyle Services
                             970 West 190" Street    Suite 890
                             Aurora, IL 60502


                             KIMLEY-HORN AND ASSOCIATES INC
                             421 FAYETTEVILLE STREET, SUITE 600
                             Raleigh, NC 27601


                             LIGHTNING BOLT INC
                             P.O. BOX 7643
                             Colorado Springs, CO 80933


                             LION CUTTING & CONSTRUCTION LLC
                             19434 OIL CENTER BLVD
                             Houston, TX 77073


                             LONG BUILDING TECHNOLOGIES INC
                             PO BOX 5501
                             Denver, CO 80217


                             Luke Hanson
                             9428 Hazy Morning Dr.
                             Colorado Springs, CO 80925


                             M&G EXCAVATION INC
                             2630 COTTONWOOD DRIVE
                             Denver, CO 80221
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                             MARSHALL MECHANICAL CONTRACTORS
                             3604 SOUTH US 31
                             Franklin, IN 46131


                             MARTIN FIRE PROTECTION
                             12295 PENNSYLVANIA ST, #4B
                             Thornton, CO 80241


                             MCKINNEY DOOR & HARDWARE
                             419 S. EL PASO STREET
                             Colorado Springs, CO 80903


                             MCM CONCRETE CUTTING INC
                             455 NW RAVENSWOOD LANE
                             Port Saint Lucie, FL 34983


                             McSHEA CONSULTING LLC
                             4445 NORTHPARK DR #200
                             Colorado Springs, CO 80907


                             MERIDIAN FIRE AND SECURITY LLC
                             10200 E. EASTER AVENUE
                             CENTENNIAL, CO 80112


                             MIKE ALBERT LEASING INC
                             P.O. BOX 643220
                             Cincinnati, OH 45264


                             Mulliken Weiner Berg & Jolivet
                             Alamo Corporate Center
                             102 South Tejon Street, Suite 900
                             Colorado Springs, CO 80903


                             MW GRP Capital
                             17 State Street Suite 630
                             New York, NY 10004


                             NIEDAX MONOSYSTEMS INC
                             L-4151
                             Columbus, OH 43260


                             NXT Power LLC
                             7051 WEST WILSON AVE
                             Harwood Heights, IL 60706


                             OAKLAND NURSERY INC
                             1156 OAKLAND PARK AVE
                             Columbus, OH 43224


                             OHIO BUREAU OF WORKER'S COMP
                             P.O. BOX 89492
                             Cleveland, OH 44101


                             Pathways Federal Credit Union
                             5665 North Hamilton Road
                             Columbus, OH 43230
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                             Peak Professional Contractors Inc.
                             1428 North Franklin Street
                             Colorado Springs, CO 80907


                             Pearl Delta Funding LLC
                             525 Washington Blvd. Suite 300
                             Jersey City, NJ 07310


                             Pearsons Ministries International
                             PO Box 340
                             Woodland Park, CO 80866


                             PEERLESS TYRE CO
                             5000 KINGSTON ST
                             Denver, CO 80239


                             PERFORMANCE NAPA LLC
                             PO BOX 219
                             Pahokee, FL 33476


                             PITNEY BOWES BANK INC PURCHASE POWER
                             PO BOX 981026
                             Boston, MA 02298


                             QED INC
                             P.O. BOX 841462
                             Dallas, TX 75284


                             QUILL CORPORATION
                             P.O. BOX 37600
                             Philadelphia, PA 19101


                             R & T YODER ELECTRIC INC
                             7927 MEMORIAL DRIVE, SUITE A
                             Plain City, OH 43064


                             Rampart Tile Company
                             3405 North El Paso Street
                             Colorado Springs, CO 80907


                             RAMPART TILE COMPANY
                             3405 NORTH EL PASO STREET
                             Colorado Springs, CO 80907


                             RAPID FIRE PROTECTION INC
                             1530 SAMCO ROAD
                             Rapid City, SD 57702


                             REDBOX+ DUMPSTERS OF DENVER METRO
                             5034 E. OTERO CIRCLE
                             Littleton, CO 80122


                             REXEL
                             P.O. BOX 840638
                             DALLAS, TX 75001
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                             RIAL HEATING & AIR COND. INC.
                             3606 N. STONE AVENUE #A
                             Colorado Springs, CO 80907


                             Robert Martinez
                             8411 Windy Hill Drive
                             Colorado Springs, CO 80920


                             ROCKSLIDE DEMO & SAWCUTTING LLC
                             4950 E. 56TH AVENUE
                             Commerce City, CO 80022


                             Sampson MCA LLP
                             C/O Luis Rothery
                             Berkovitch and Bouskila 1545 Route 202 S
                             Pomona, NY 10970


                             SANDER MECHANICAL SERVICE LLC
                             55 COLUMBIA ROAD
                             Somerville, NJ 08876


                             SATCO CALIFORNIA
                             31288 SAN BENITO ST
                             Hayward, CA 94544


                             SCHOMMER CONSTRUCTION
                             410 SOUTH 19TH STREEST
                             Colorado Springs, CO 80904


                             SEDGWICK
                             P.O. BOX 89456
                             Cleveland, OH 44101


                             SEGOVIANS COMPANY
                             6700 QUEENSTON BLVD #618
                             Houston, TX 77084


                             SEMA CONNECT INC
                             P.O. BOX 69416
                             Baltimore, MD 21264


                             SEMPER MECHANICAL INC
                             54 WEST DANE ST, UNIT 1
                             Beverly, MA 01915


                             SERVICE MASTER BY DEMARRT
                             P.O. BOX 6051
                             Hilliard, OH 43026


                             SHIELDING RESOURCES GROUP INC
                             9512 E. 55TH STREET
                             Tulsa, OK 74145


                             SHON'S SCIENTIFIC REFRIGERATOR
                             202 MILTON STREET, SUITE 101
                             Dedham, MA 02026
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                             SIGN SHOP LTD
                             3505 E. PLATTE AVE
                             Colorado Springs, CO 80909


                             SIGNCO SIGNS & GRAPHICS
                             1512 6TH AVE SE
                             Decatur, AL 35601


                             Small Business Administration
                             2 North Street Suite 320
                             Birmingham, AL 35203


                             SP+
                             PO BOX 22814
                             Denver, CO 80222


                             SPECIALTY CLEANING SERVICES INC
                             1207 S. LIPAN STREET
                             Denver, CO 80223


                             STAINLESS SPECIALISTS, INC
                             P.O. BOX 687
                             Wausau, WI 54402


                             Steve Vandenburg
                             1093 Fenway Rd.
                             Port Saint Lucie, FL 34953


                             Steve's Electric of South Florida Inc.
                             Attn. Steve Vandenburg
                             1093 Fenway Rd.
                             Port Saint Lucie, FL 34953


                             STILSON ELECTRIC SYSTEMS INC
                             2375 N. ACADEMY BLVD, SUITE 110
                             Colorado Springs, CO 80909


                             STRAIGHT LINE CONSTRUCTION CO
                             94 N MISSION DRIVE
                             Pueblo, CO 81007


                             STUART BUSINESS SYSTEMS INC
                             830 N.E. POP TILTON PLACE
                             Jensen Beach, FL 34957


                             SUNBELT RENTALS
                             P.O. BOX 409211
                             Atlanta, GA 30384


                             SUNSTATE EQUIPMENT CO. LLC
                             P.O. BOX 208439
                             Dallas, TX 75320


                             Systems Electric Inc.
                             90 Talamine Ct.
                             Colorado Springs, CO 80907
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                             Systems Electric Inc.
                             5295 Suburban Drive
                             Colorado Springs, CO 80911


                             TD Auto Finance LLC
                             2777 Inkster Rd.
                             Farmington, MI 48334


                             TOP NOTCH COMMERCIAL GROUP LLC
                             9011 EDGEBROOK
                             Houston, TX 77075


                             TOPS IN COUNTERTOPS INC
                             3100 N. NEVADA AVENUE
                             Colorado Springs, CO 80905


                             TOPS IN STONE INC
                             623 W VERMIJO
                             Monument, CO 80132


                             TURNER MORRIS INC
                             5054 MARSHALL STREET
                             Arvada, CO 80002


                             U.S. BANK EQUIPMENT FINANCE
                             P.O. BOX 790448
                             Saint Louis, MO 63179


                             Unico Colorado Square LLC
                             118 E. Pikes Peak Avenue
                             Colorado Springs, CO 80903


                             Unico Colorado Square LLC
                             215 4" Avenue, Suite 600
                             Seattle, WA 98161


                             UNITED RENTALS INC
                             P.O. BOX 100711
                             Dallas, TX 75284-0514


                             US Small Business Administration
                             65 E. State Street Suite 1350
                             Columbus, OH 43215


                             US Small Business Administration
                             2 North Street Suite 320
                             Birmingham, AL 35203


                             Vectra Bank Colorado
                             111 South Tejon Street #103
                             Colorado Springs, CO 80903


                             VELOCITI
                             P.O. BOX 872287
                             Kansas City, MO 64187
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                             VeriCore
                             Attn: William Fox
                             10115 Kincey Avenue, Suite 100
                             Huntersville, NC 28078


                             Virginia P. Sherlock Esq.
                             Littman Sherlock & Heims PA PO Box 1197
                             Stuart, FL 34995


                             VISA
                             **NEED ADDRESS**


                             Vista Community Church
                             Attn. Ron Roman
                             5266 Frantz Rd.
                             Dublin, OH 43017


                             Voltonix LLC
                             Attn.Craig Kalie
                             7255 UPPER CAMBRIDGE LANE
                             Westerville, OH 43082


                             WESTERN INTERIOR SUPPLY INC
                             450 BRYANT STREET
                             Denver, CO 80204


                             WESTERVILLE CHAMBER OF COMMERCE
                             99 COMMERCE PARK DRIVE
                             Louisville, KY 43082


                             WESTSIDE DESIGNWORKS
                             1451 BURNHAM STREET
                             Colorado Springs, CO 80906


                             William C. Groh, III
                             Robinson and Henry, P.C.
                             1805 Shea Center Dr., Suite 180
                             Littleton, CO 80129


                             X5 NETWORKS LLC
                             2114 SHERMAN DR
                             Union City, CA 94587


                             XEROX
                             P.O. BOX 205354
                             Dallas, TX 75320


                             Zions Credit Corporation
                             DBA Vectra Bank Colorado
                             310 South Main Street Suite 1300
                             Salt Lake City, UT 84101


                             ZOOMINFO TECHNOLOGIES LLC
                             805 BROADWAY, SUITE 900
                             Vancouver, WA 98660
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                                                                     United States Bankruptcy Court
                                                             Southern District of Ohio, Columbus Division
  In re      CUSITECH LLC                                                                                    Case No.
                                                                                     Debtor(s)               Chapter    7




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CUSITECH LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  September 4, 2023                                                      /s/ David Whittaker
 Date                                                                    David Whittaker 0019307
                                                                         Signature of Attorney or Litigant
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